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                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA,
                             MIAMI DIVISION

Wells Fargo Bank, NA
                                                      Case No. 17 cv 20266
           vs.

John Bonaby, et als,

                       MOTION FOR EXTENSION OF TIME

     Defendant Bonaby Management, Inc., hereby respectfully requests the
Court to extend the time set forth in its Order of January 25th 2017 requiring the
filing of additional information by January 31st (today) in that counsel for Bonaby
Management, Inc. has been involved in trial preparation for a matter tried just
yesterday the 30th of January before the Honorable Robert Mark, U.S.
Bankruptcy Judge in the matter of Acevedo, case # 15-22200 RAM and has not
been able to address the concerns of this Court as set forth in those Orders and
most respectfully requests the grant of an additional ten days for compliance.

                           CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy of the foregoing was served via the
CM/ECF system upon all others involved in this cause this January 31, 2017.


/s/
Elliot L. Miller
Attorney for Defendant Bonaby Management, Inc.
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